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                                                             AUSA:       Ryan A. Partick a                 Te leph one: (313) 348-8178
AO 91 (Rev. 11/11) Criminal Complaint             Special Agent :        Jul i a MacBe th                  Te l ephon e : (313)919-1373

                                        UNITED STATES DISTRICT COURT
                                                               for the
                                                 Eastern District of Michigan
United States of America
   v.                                                              Case: 2:20−mj−30299
                                                                   Assigned To : Unassigned
                                                                   Assign. Date : 8/17/2020
SAMUEL GEORGE BAKER
                                                                   IN RE: SEALED MATTER (MAW)




                                                    CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

          On or about the date(s) of               June 2020 - Present                in the county of ___O-'--ak_l _an_d___ in the
              te_m ___ District of
  ___E_a..:..s_                             Michig an      , the defendant(s) violated:
                   Code Section                                             Offense Description
18 U.S.C. § 1341                                        Ma il F r aud
18 U.S.C. §l028A                                        Aggrav ated IdentityTheft
18 u.s.c. §1029                                         F r aud and Rel a ted Activityin Connection w ith Access Devices




          This criminal complaint is based on these facts:




 IL] Continued on the attached sheet.



                                                                      · ulia MacBe th, Special Agen t, FBI
                                                                                                 Printed name and title
 Sworn to before me and signed in my presence
 and/or by reliable electronic means.

 Date: 8/17/2020                                                                                   Judge's signature

                      �
 City and state: ....;D et=
                          ro     t -=-
                           ::..:i=  Ml-=-------------                    Elizabe th A. S t afford, U.S. Mag istr ate Judg e
                                                                                                 Printed name and title
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              AFFIDAVIT IN SUPPORT OF A COMPLAINT
      I, Julia MacBeth, Special Agent for the Federal Bureau of Investigations,

being duly sworn, state as follows:

             INTRODUCTION AND AFFIANT BACKGROUND

  1. I am a Special Agent of the FBI and, as such, an investigative or law

     enforcement officer of the United States within the meaning of Section

     2510(7) of Title 18 of the United States Code. I am empowered to conduct

     investigations of and to make arrests for offenses enumerated in Title 18 of

     the United States Code.

  2. I have been employed by the FBI since May 2016. Prior to joining the FBI, I

     was a Federal Air Marshal from December 2010 until April 2016. I earned

     a Bachelor’s degree in criminal justice from Western Michigan University

     and a Master’s degree in criminal justice from Tiffin University. I have

     received law enforcement training at the Federal Law Enforcement Training

     Center (FLETC) and the FBI Academy. During my employment with the

     FBI, I have investigated federal crimes involving mail fraud, wire fraud,

     money laundering, investment fraud, identity theft, and various other criminal

     matters. At all times during the investigation described in this affidavit, I

     have been acting in an official capacity as a Special Agent of the FBI.
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                        PURPOSE OF AFFIDAVIT

3. This affidavit is made in support of a criminal complaint and arrest warrant

   for SAMUEL GEORGE BAKER of violations of Title 18, U.S.C. §1341

   (Mail Fraud); Title 18, U.S.C. §1029 (Fraud and Related Activity in

   Connection with Access Devices); and Title 18, U.S.C. §1028A (Aggravated

   Identity Theft).

4. Based on my training and experience and the facts set forth in this affidavit,

   there is probable cause to believe that BAKER, a resident of the Eastern

   District of Michigan, is responsible for knowingly possessing and using

   fraudulently-obtained access devices containing victims’ unemployment

   benefits to execute a scheme to defraud within the Eastern District of

   Michigan. There is also probable cause to believe that this scheme involved

   the use of mail to execute the fraud.

5. This affidavit is submitted for securing a criminal complaint and arrest

   warrant; therefore, this affidavit does not contain every fact that I have

   learned during the course of the investigation. I have only set forth the facts

   necessary to establish probable cause to believe that BAKER violated the

   statutes identified above. The information contained in this affidavit is based

   upon my personal knowledge, training and experience, as well as the




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   combined knowledge, training and experience of other law enforcement

   officers and agents with whom I have had discussions.

6. Title 18, U.S.C. § 1341 criminalizes the use of mail for the purpose of

   executing or attempting to execute any scheme or artifice to defraud, or for

   obtaining money or property by means of false or fraudulent pretenses,

   representations, or promises.

7. Title 18, U.S.C. §1029(a)(2) criminalizes using one or more unauthorized

   access devices during any one-year period to obtain anything of value

   aggregating $1,000 or more. An access device is defined as any card, account

   number, personal identification number, or other means of account access

   that can be used, alone or in conjunction with another access device, to obtain

   money, goods, services, or other things of value, or can be used to initiate a

   transfer of funds. An unauthorized access device means any access device

   that is lost, stolen, expired, revoked, canceled, or obtained with intent to

   defraud.

8. Title 18, U.S.C. §1028A criminalizes knowingly transferring, possessing, or

   using, without lawful authority, a means of identification of another person

   during the course of certain other felony violations, to include the above

   described mail fraud.




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                               BACKGROUND

9. This joint investigation conducted by the FBI, the Department of Labor-

   Office of Inspector General, and the Bloomfield Township Police

   Department has revealed, as explained in more detail below, that SAMUEL

   GEORGE BAKER, is executing a scheme to defraud by fraudulently

   obtaining unemployment benefits issued by the State of Pennsylvania in

   various victims’ names on prepaid debit cards and then using the cards to

   make cash withdrawals. BAKER caused the prepaid benefit cards to be sent,

   via mail, to his residence and various other residences in the Eastern District

   of Michigan. In addition, BAKER furthered the fraud by applying for and

   receiving unemployment benefits from the State of Michigan by means of

   falsifying social security numbers and other information provided in the

   application(s).

10. The federal government is currently providing substantial assistance to the

   States through the Families First Coronavirus Response Act (FFCRA), which

   became law on March 18, 2020, and provides additional flexibility for State

   unemployment insurance agencies and additional administrative funding to

   respond to the COVID-19 pandemic. Additionally, the Coronavirus Aid,

   Relief, and Economic Security (CARES) Act was signed into law on March

   27, 2020, and further expands the ability of the States to provide

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   unemployment insurance (UI) for many workers impacted by the COVID-19

   pandemic, including workers who are not ordinarily eligible for

   unemployment benefits. The Federal Pandemic Unemployment

   Compensation (FPUC) program was created under the aforementioned

   statutes and allowed eligible individuals who are collecting certain UI

   benefits, including regular unemployment compensation, to receive an

   additional $600 in federal benefits per week for weeks of unemployment

   ending on or before July 31, 2020. Additionally, the Pandemic Emergency

   Unemployment Compensation (PEUC) program has been created and allows

   those who have exhausted benefits under regular unemployment

   compensation or other programs to receive up to 13 weeks of additional

   federally funded benefits.

 11.Normally (in the absence of fraud), an unemployed worker initiates an

    unemployment claim. Currently, the overwhelming majority of

    unemployment claims are filed online through state-organized websites. In

    most cases, in order to be eligible for unemployment benefits, the worker

    must demonstrate a certain level of earnings in several quarters immediately

    preceding the application. The amount of unemployment benefits that an

    unemployment claimant might be eligible for depends on a variety of




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    factors, including, but not limited to, the length of his or her previous

    employment and the amount of wages he or she earned.

 12.One way in which UI benefits are provided in the State of Pennsylvania to a

    claimant is through the use of a prepaid debit card, issued by US Bank and

    sent to the claimant through the mail. In the State of Michigan, the prepaid

    cards are issued by Bank of America, but are also mailed to the claimant.

    The unemployment benefits are loaded onto the debit card electronically,

    and additional benefits are loaded onto the card electronically every two

    weeks. Alternatively, a worker can provide a bank routing number and bank

    account in which to have their unemployment benefits directly deposited

    electronically. Additional benefits are then deposited into the account

    electronically every two weeks.

13.In an effort to prevent and otherwise inhibit fraud, data is captured

   surrounding the interaction between an individual and the unemployment

   benefits system. Each time a claim is accessed in the system, it creates a

   digital footprint of sorts. Some of the data that is collected includes the dates,

   times, Internet Protocol (IP) address, and Media Access Control (MAC)

   address associated with the device accessing the claim. This information is

   tied to the user-entered information captured to facilitate the claim (i.e. name,

   address, social security number, BOA or other bank account numbers, bank

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   routing numbers, etc.). It is through the analysis of this data that the

   investigating agents can identify fraudulent trends and tendencies associated

   with certain claims.

                                PROBABLE CAUSE

                    State of Pennsylvania Unemployment Claims

 14. In July 2020, a Fraud Investigator for Independent Bank in Michigan

    contacted the FBI to report ongoing suspicious activity. According to the

    bank investigator, an unidentified suspect (later identified by law

    enforcement as BAKER) had been making large daily cash withdrawals at

    Independent Bank Automated Teller Machines (ATMs) throughout Oakland

    County, Michigan. At that time, BAKER was using the same thirteen (13)

    US Bank and Card.com prepaid debit cards to make the withdrawals, and

    was doing so daily using Independent Bank drive-up ATMs, either prior to

    the bank branches opening or after the bank branches had closed. The

    thirteen cards were typically used to make two $500 withdrawals each

    ($1,000 per card, each day). By the end of July 2020, Independent Bank had

    identified 28 debit cards used by BAKER routinely. One of these cards

    commonly used by BAKER was a US Bank card ending in 5223.

 15.Independent Bank provided the FBI still photos taken from the closed-circuit

    television (CCTV) cameras located on the ATMs. BAKER was almost

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    always observed driving a new 2020 black Dodge Durango. Also, BAKER

    commonly wore a camouflage cap and black medical-style facemask.

 16. On July 17, 2020, the FBI referred these suspicious incidents to a

    Bloomfield Township Police Department Detective assigned as an FBI

    Detroit Metro Identity Theft and Financial Crimes Task Force Officer

    (TFO). This FBI TFO was able to positively identify the previously-

    unknown suspect as BAKER through the use of surveillance techniques and

    with the assistance of other Bloomfield Township Police Officers. During a

    routine traffic stop made after BAKER made withdrawals at the Bloomfield

    Hills Independent Bank branch ATM, BAKER provided the officer with a

    State of Georgia driver’s license in the name of SAMUEL BAKER. The

    Michigan license plate on the black Dodge Durango BAKER was driving

    was EDM 9908, which is a registered in the State of Michigan to BAKER at

    his residence, 17830 Violet Dr, Southfield, Michigan.

 17. Further investigation revealed that several of the cards used to make

    withdrawals by BAKER were issued in the names of various individuals on

    behalf of the State of Pennsylvania for the purpose of receiving state and

    federal unemployment benefits.

 18. US Bank records revealed that twelve of the twenty-eight cards that had

    been identified as cards used by BAKER to make cash withdrawals, were

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     cards that had been issued by US Bank for the purpose of receiving

     Pennsylvania unemployment benefit payouts. Included in the twelve cards

     issued by the State of Pennsylvania was the card ending 5223. The total

     amount of state and federal unemployment funds issued on these twelve

     cards totaled approximately $158,911.00. As of August 10, 2020,

     approximately $147,061.00 of the total amount issued on the cards had been

     withdrawn via ATM. It is believed that the remainder of the 28 cards known

     to be used by BAKER to make withdrawals also contain(ed) unemployment

     benefits; however, that aspect of the investigation remains ongoing. Based

     upon conversations with Independent Bank Investigators, it is estimated that

     the total available balance across all of the cards was likely above $300,000.

  19.According to records provided by US Bank, the debit card ending in 5223,

     as referenced above, was issued in the name of a victim, herein known as

     D.B. Further, all deposits into the account were from the Pennsylvania

     Department of Treasury and appeared to be the result of state and federal

     unemployment benefit payments. This card was delivered, via mail, to

     BAKER’s Violet Drive, Southfield residence.

  20.The Department of Labor provided records of the unemployment benefits

     claim filed in the name of D.B. in the State of Pennsylvania. The claim, filed

     on June 25, 2020, listed D.B.’s residential address as 755 Greenhills Road,

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     Irwin, Pennsylvania, with a mailing address of 17830 Violet Drive,

     Southfield, Michigan. The claim requested that benefit payments be issued

     via debit card. The phone number submitted on the application was a 248-

     area code phone number, which is an area code used in Oakland County,

     Michigan.

  21. Records provided by the Department of Labor for the unemployment

     benefits claim in the State of Pennsylvania for D.B., revealed the following

     payouts were made on a US Bank card issued for D.B.:

      Date         Amount        Source of Funds

      6/26/2020     $2,925.00 State of PA Unemployment Funds

      6/26/2020     $7,200.00 Cares Act Federal Funds

      6/29/2020       $195.00 State of PA Unemployment Funds

      6/29/2020       $600.00 Cares Act Federal Funds

      Total        $10,920.00


  22.According to US Bank, a total of $10,889.00 was withdrawn from the debit

     card ending 5333 between July 14, 2020 and July 22, 2020.

  23.CCTV footage provided by Independent Bank, recorded on July 17, 2020, at

     approximately 5:58 A.M. from the Farmington Hills Independent Bank

     branch shows BAKER conducting transactions in the same black facemask

     and camouflage hat, as he was wearing when previously identified.
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     Consistent with this are US Bank records indicating that two withdrawals

     were made on the debit card ending in 5223 for $500.00 each on July 17,

     2020 at approximately 5:58 A.M. from an Independent Bank branch located

     in Farmington Hills.

  24. The FBI contacted victim D.B., who stated that he/she never filed an

     unemployment claim nor had anyone file on his/her behalf in the State of

     Pennsylvania. D.B., a resident of Virginia, had not lived in the State of

     Pennsylvania for many years. D.B. had been employed since the start of the

     pandemic and had no reason to file for unemployment benefits. D.B. had not

     received a debit card containing unemployment benefits and therefore had

     never made any cash withdrawals on any such debit card. D.B. verified that

     it was his/her correct social security number and date of birth used to file the

     claim made in Pennsylvania.

  25. Records and information obtained by the FBI indicate that since the start of

     this scheme to defraud, BAKER purchased a rare Rolex watch for $44,500

     cash, all in denominations smaller than $100 bills from a Southfield pawn

     shop in August 2020. This is significant because according to the

     Independent Bank Investigator, most bank ATMs, to include Independent

     Bank’s ATMs, do not issue $100 bills. In addition, in July 2020, BAKER




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     made two cash payments for approximately $53,000 and $17,700 to the

     same pawnshop for the purpose of paying off debt obligations.

                       State of Michigan Unemployment Claims

  26. A Special Agent with the Department of Labor through the use of records

     received from the State of Michigan Unemployment Agency, identified

     three unemployment benefit claims, made in the State of Michigan, filed by

     BAKER in his true name and date of birth. However, on at least two of

     these claims, BAKER falsified the claims by using fraudulent social security

     numbers, addresses and driver’s licenses.

  27. According to State of Michigan Unemployment Agency records, BAKER

     filed the first State of Michigan unemployment benefit claim on or around

     May 8, 2020, using his true social security number and address, however

     attached to the claim was an altered Michigan driver’s license. The fictious

     driver’s license contained an expired Michigan driver’s license number

     previously issued to BAKER, which expired in July 2015. BAKER does not

     have a current driver’s license in the State of Michigan. This driver’s license

     contained a photo of BAKER and his Violet Drive, Southfield address. The

     benefits for this claim were requested to be issued via direct deposit to a

     PNC Bank account.




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  28. According to State of Michigan Unemployment Agency records, a second

     claim was filed by BAKER on or around May 15, 2020, which listed a fake

     social security number and an address of 560 Alter Drive, Detroit, Michigan.

     Digitally attached to the application was another fraudulent driver’s license,

     containing the same driver’s license number as BAKER’s expired license;

     however, the photo was that of a different unknown person. The benefits for

     this claim were requested to be issued via a prepaid Bank of America debit

     card. Additionally, submitted with this claim was a digitally-manufactured

     social security card containing a fake social security number.

  29. According to State of Michigan Unemployment Agency records, a third

     claim was filed by BAKER on or around May 15, 2020, which listed a fake

     social security number and an address of 25029 Champlaign Drive,

     Southfield, Michigan. Also, digitally attached to the application was a

     fraudulent driver’s license containing the same expired driver’s license

     number previously used by BAKER in the first claim; however, the photo

     was that of a different unknown person. The benefits for this claim were

     requested to be issued via a prepaid Bank of America debit card.

     Additionally, submitted with this claim was a digitally-manufactured social

     security card containing a fake social security number.




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  30. In all three claims, the fraudulent driver’s licenses all contained the same

     driver’s license number, name, date of birth, document discriminator

     number, and signature, which appears to be a digitally made signature. The

     licenses all appear to be digitally manipulated.

  31. The information captured while accessing the unemployment system for

     these claims in the State of Michigan, indicates all three of these claims were

     consistently accessed from the same model iPhone.

  32. According to the Michigan Unemployment Agency, if the claimant chooses

     to have unemployment benefits deposited onto a debit card, that card is

     provided by Bank of America and is also mailed the next business day

     following the date the claim is filed. Two of the claims filed by BAKER

     were issued benefits via Bank of America debit cards.

  33. The benefits received by BAKER for the three fraudulent State of Michigan

     unemployment claims totaled $37,760.

                                CONCLUSION

  34. Based on the investigation thus far, including the facts set forth above, your

     affiant submits that there is probable cause to believe that SAMUEL

     GEORGE BAKER, has executed a scheme to defraud and while doing so

     knowingly possessed and used, without lawful authority, a means of

     identification of another person. In addition, your affiant submits that there

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   is probable cause to believe that BAKER, within a one-year period, used one

   or more unauthorized access devices to obtain more than $1,000, and did so

   knowingly and with intent to defraud. There is also probable cause to believe

   that the mail was used to execute the scheme to defraud.

35. Therefore, your affiant believes that probable cause exists that SAMU EL

   GEORGE BAKER violated Title 18, U.S.C. §1341 (Mail Fraud); Title 18,

   U.S.C. § 1028A (Aggravated Identity Theft); and Title 18, U.S.C. § 1029(a)(2)

   (Fraud and Related Activity in Connection with Access Devices).




                                       Respectfully submitted,




                                        Special Agent
                                        Federal Bureau of Investigation


    Date: August 17, 2020

                             Sworn to before me and signed in my presence
                             and/or by reliable electronic means.



                             Elizabeth A. Stafford
                             United States Magistrate Judge




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